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   EXHIBIT 2
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                                                                 KILBURN TAMARA
                                                                    5/13/2021


                                                                                                            Page 1
                                              UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF WASHINGTON
                                                               AT SEATTLE
                      _____________________________________________________
                      HUNTERS CAPITAL, LLC, et al.,                               )
                                        Plaintiffs,                               )
                          vs.                                                     ) No. 20-cv-00983-TSZ
                      CITY OF SEATTLE,                                            )
                                        Defendant.                                )
                      ______________________________________________________
                                ZOOM VIDEO DEPOSITION UPON ORAL EXAMINATION
                                                                     OF
                                                              TAMARA KILBURN
                                                          SWAY AND CAKE 30(b)(6)
                      ______________________________________________________
                                                                9:00 a.m.
                                                               May 7, 2021




                      *** Contains Confidential Testimony and Exhibits ***


                      REPORTED BY:                 Pat Lessard, CCR #2104


                                                             ROUGH & ASSOCIATES INC
         office@roughandassociates.com                            206.682.1427 3515 SW Alaska St Seattle WA 98126


Electronically signed by Pat Lessard (601-142-526-6610)                                        5395ce1c-6887-4399-8d86-2776917d4c80
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                                                              KILBURN TAMARA
                                                                 5/13/2021


                                                                                                        Page 43
             1       what time in 2019?
             2                 Q.        When did you buy for summer 2020?
             3                 A.        So for summer 2020 I had very, very limited
             4       product coming in because I wanted to be on the
             5       conservative side.                   Just because I didn't feel like I
             6       was going to have the same performance as 2019 that
             7       summer and I would rather be on the conservative side.
             8                           Also, on a side note, you know, I'm ordering
             9       from people who have -- they are a small business as
           10        well, so I don't feel comfortable projecting and
           11        ordering if I don't know or am unable to take it in,
           12        if that makes sense.
           13                  Q.        Uh-huh.
           14                  A.        So I just want to be super duper
           15        conservative and that always works out best for
           16        everyone.
           17                  Q.        So you didn't have much coming in in June
           18        2020.         And when did you make that decision on taking a
           19        conservative approach?
           20                  A.        All of 2020 was conservative.
           21                  Q.        Why?
           22                  A.        Well, we had this thing called Covid; I
           23        don't know if you're aware of that.                       We were shut
           24        down, I believe, March 13th.
           25                            So at that point in time I had a full store


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                                                                KILBURN TAMARA
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                                                             Page 173                                                          Page 175
             1       business?                                               1               SIGNATURE
             2          A. No.                                               2             I declare under penalty of perjury under the
             3             MS. PRATT: I'm going to mark, hopefully,          3   laws of the State of Washington that I have read my within
             4       one more exhibit, Exhibit 27.                           4   deposition, and the same is true and accurate, save and
             5                (Marked Deposition Exhibit No. 27.)            5   except for changes and/or corrections, if any, as indicated
             6          Q. (By Ms. Pratt) Let me know when you see           6   by me on the CHANGE SHEET flyleaf page hereof.
             7       that. Do you see the exhibit?                           7             Signed in ___________________, Washington,
             8          A. Yes.                                              8   this _________ day of _________________, 2021.
                                                                             9
             9          Q. Okay. What is Exhibit 27?
                                                                            10
            10          A. It is an Instagram post.
                                                                            11   ----------------------------
            11          Q. And did Sway and Cake open on June 8th?
                                                                            12   TAMARA KILBURN
            12          A. I'm sorry. Did we open on June 8th?              13   Taken: May 7, 2021
            13          Q. Oh, I brought in the wrong one.                  14
            14             Well, in any case. Yeah.                         15
            15             So on June 8th you announced -- sorry, you       16
            16       announced that you're going to reopen?                 17
            17          A. Yes.                                             18
            18          Q. Did you actually reopen?                         19
            19          A. No.                                              20
            20          Q. Okay. So into June 8th you planned to            21
            21       reopen on June 11th, but you didn't?                   22   Re: HUNTERS CAPITAL
            22          A. Correct.                                              Cause No.: 20-CV-0083-TSZ
            23             MS. PRATT: Okay. I think I am done for the       23   Pat Lessard, CCR 2104
            24       day. I appreciate your time. I'm sure this was no      24
            25       fun.                                                   25


                                                             Page 174                                                          Page 176
             1             THE WITNESS: Thank you. I appreciate your         1               CERTIFICATE
             2      time, too.                                               2   STATE OF WASHINGTON )
             3             MS. PRATT: And, Tyler, I'm just going to                             ) ss.
                                                                             3   COUNTY OF KING               )
             4      remind you one more time that contingency fee
                                                                             4         I, the undersigned Washington Certified Court
             5      agreement is in there, so when it's time to designate    5   Reporter, hereby certify that the foregoing deposition upon
             6      I want to make sure that we're both on top of it,        6   oral examination of TAMARA KILBURN was taken
             7      right?                                                   7   stenographically by me on May 7, 2021, and transcribed under
             8             MR. WEAVER: Okay.                                 8   my direction;
             9             MS. PRATT: We can go off.                         9         That the witness was duly sworn by me pursuant to
            10             THE VIDEOGRAPHER: The time is 3:45 p.m.          10   RCW 5.28.010 to testify truthfully; that the transcript of
            11             We are off the record.                           11   the deposition is a full, true, and correct transcript to
            12                (Deposition recessed at 3:45 p.m.)            12   the best of my ability; that I am neither attorney for nor
                                                                            13   relative or employee of any of the parties to the action or
            13
                                                                            14   any attorney or counsel employed by the parties hereto, nor
            14                                                              15   am I financially interested in its outcome.
            15                                                              16        I further certify that in accordance with
            16                                                              17   CR 30(e) the witness was given the opportunity to examine,
            17                                                              18   read and sign the deposition within 30 days upon its
            18                                                              19   completion and submission, unless waiver of
            19                                                              20   signature was indicated in the record.
            20                                                              21      IN WITNESS WHEREOF, I have hereunto set my hand this
            21                                                              22   11th Day day of May, 2021.
                                                                            23
            22                                                                               ------------------------
            23                                                              24               Pat Lessard,
            24                                                                               pat@court-reporter.com
            25                                                              25


                                                                                                    44 (Pages 173 to 176)
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